Case 2:18-CV-16119-W.]I\/|-I\/|F Document 3 Filed 02/14/19 Page 1 of 1 Page|D: 17

u:l¢:iur !riL!§L 1 ;gil)ml¢§nrlnen

 

 

 

 

 

 

LEL‘

WESLEY GACHETT
PLAINTIFF UNITED STATES DISTRICT COURT
_ vs _ DISTRICT OF NEW JERSEY
DEVILLE ASSET MANAGEMENT, LTD., E:T AL mcth N°' Z‘IB'CV'lellg`WJM`MF
DEFENDANT
Person to be Served
DEVILLE ASSET MANAGEMENT, LTD. AE‘FIDAVIT oF sERvICE
C/O THE CORPORATION TRUST COMPANY 820 BEAR TAVERN RD (For Use By Private Service)

WEST TRENTON, NJ 08628

Papers Served: SUMMONS IN A CIVIL CASE, CIVIL COVER SHEET, CLASS ACTION COMPLAINT, EXHIBITS

Service Data:
Served Successfully x Not Served Date: 02[11[2§}13 Time: 3'.§19 EM Attempts:

De]_ivered a COpy to him/her personally Name of person served and relationship / title:

KELSEA H LTON
Left a eopy with a competent household
_mern.ber of over 14 years cf age residing INTAKE PE T
therein.

Left a copy with a person authorized to
accept service, e.c_r. managing agent_.
registered agent, etc\

|N

Description of Perscn Accepting Sez'vica:
SEX: FEMALE COLOR: WHITE HAIR: AUBURN APP.AGE: 30 APP. HT: 5‘4 APP. WT: 125

OTHER:

Comments Or Remarks:
I, JOHN ZISA, was at the time of service a

competent adult not having a direct interest in
MAM, the litigation. I declare under penalty of
. perjury\_that the foregoing is true and correct.

Sworn to before me this g>{§cj`vAu/’\`//k
\ h

"¢ .¢

da of 2019
/L:’ Y FEB' , § g
Slgnatur\e of Process Server Date

-~,._,.

Client File Number:

 

  

Edward
NOTA:;( MCDona|d NJLS Process Service
PUBL'C 2333 u.s. Hwy 22 west
wl ` STATE OF NEW JEHSEY Union, NJ 07083
!...» r..ns.-mflsslow szIRES ocTOBER 21. 2019 908'6*36'7399

 

 

